
Upon consideration of the Petition for Reinstatement of Charles Boileau Bailey, Bar Counsel's consent thereto, and the record herein, it is the 18th day of January, 2019, by the Court of Appeals of Maryland;
ORDERED, that the Petition be, and the same hereby is. GRANTED; and it is further
ORDERED, that Charles Boileau Bailey is reinstated as a member of the Bar of Maryland; and it is further
ORDERED, that the Clerk of the Court shall replace the name of Charles Boileau Bailey upon the register of attorneys entitled to practice in this Court and certify that fact to the Trustees of the Client Protection Fund and the clerks of all judicial tribunals in this state.
